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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                     Plaintiffs,                  No. 1:21-cv-02900-CJN
         v.

HERRING NETWORKS, INC., d/b/a ONE                 Judge Carl J. Nichols
AMERICA NEWS NETWORK

                     Defendant.

                              STIPULATION FOR ESI PROTOCOL

         Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation, and defendant Herring Networks, Inc. d/b/a One America News Network, stipulate

to and request entry of an ESI protocol pursuant to the terms provided in the attached proposed

order.

Dated: December 28, 2022

 By: /s/ Blaine Kimrey                          By: /s/ Michael E. Bloom
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 28, 2022, I caused the foregoing to be

filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties indicated on the electronic filing receipt.


/s/ Michael E. Bloom
Michael E. Bloom




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